                                                                                      18-021297
                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

IN RE:                                               CASE NUMBER 18-11236

Donna L. Vinson
      aka Donna Lynn Vinson
Jeannie S. Edwards
      aka Jeannie Sue Edwards,
               DEBTOR(S)                             CHAPTER 7


NOTICE OF HEARING ON MOTION FOR RELIEF FROM AUTOMSTIC STAY AND
                     CERTIFICATE OF SERVICE

TO: The debtor(s):          Donna L Vinson, 8007 Amy Hewes Drive, Shreveport, LA 71115
                            and Jeannie S Edwards, 8007 Amy Hewes Drive, Shreveport, LA
                            71115

     The debtor(s) attorney: Kelli Rene Cook, kellilaw@cook4law.com

     The Trustee:           John W. Luster, luster_jbr@bellsouth.net

     The U.S. Trustee:      Office of the U.S. Trustee, USTPRegion05.SH.ECF@usdoj.gov

NOTICE IS HEREBY GIVEN OF AN IF AND ONLY IF HEARING ON THE FOLLOWING
MOTION:

Title of Motion:            Motion for Relief from Automatic Stay

Moving Party:               Nationstar Mortgage LLC d/b/a Mr. Cooper

Date and Time of Hearing:   November 27, 2018 at 9:30 a.m.

RESPONSE DEADLINE: November 20, 2018

Place of Hearing:           United States Bankruptcy Court, 300 Fannin Street, Courtroom 4,
                            Fourth Floor, Shreveport, LA 71101

Relief Requested:           Relief from the automatic stay to enforce a security interest in the
                            following described property: 8916 Acacia Lane, Shreveport, LA
                            71118

Nature of mover's security interest: Mortgage




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Please be advised that this communication is from a debt collector and any information obtained
may be used for that purpose. This notice is required by the provisions of the Fair Debt
Collection Practices Act and does not imply that we are attempting to collect money from
anyone who has been discharged of a debt in accordance with the bankruptcy laws of the United
States.

Mover understands and agrees that, since the notice hearing date is more than thirty days
from the date of this Notice and from the filing of this Motion, the automatic stay will remain
in full force and effect pending the hearing on the Motion scheduled November 27, 2018 at
9:30 a.m.


       Metairie, Louisiana, this 25th day of October, 2018.

                                            Respectfully submitted,

                                            SHAPIRO & DAIGREPONT, L.L.C.


                                            BY:     /s/Remy F. Symons
                                                    Penny M. Daigrepont, Attorney
                                                    Louisiana Bar Roll Number 30464
                                                    L. Claire Mayer, Attorney
                                                    Louisiana Bar Roll Number 31837
                                                    Skye E. Prince, Attorney
                                                    Louisiana Bar Roll Number 33114
                                                    Emily E. Holley, Attorney
                                                    Louisiana Bar Roll Number 36875
                                                    Remy F. Symons, Attorney
                                                    Louisiana Bar Roll Number 34553
                                                    Sean E. Williams, Attorney
                                                    Louisiana Bar Roll Number 37551
                                                    Attorneys for Mover
                                                    3510 N. Causeway Blvd., Suite 600
                                                    Metairie, LA 70002
                                                    (504) 831-7726

Certificate of service:                         Undersigned counsel for mover certifies that
                                                this Notice and the described motion have this
                                                day been served by United States Mail, postage
                                                pre-paid or via electronic mail, upon the persons
                                                to whom it is addressed at the addresses
                                                indicated above on this 25th day of October,
                                                2018.




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                                  BY:    /s/Remy F. Symons
                                         Remy F. Symons
                                         Louisiana Bar Roll Number 34553




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